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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

         In re:                                                            Chapter 11

         TSAWD Holdings, Inc., et al., 1                                   Case No. 16-10527 (MFW)

                                      Debtors.


         O2COOL, LLC,

                                      Plaintiff,

                             v.
                                                                           Adv. Proc. No. 16-51014 (MFW)
         TSA STORES, INC.; BANK OF AMERICA,
         N.A.; WELLS FARGO BANK, NATIONAL                                  Ref. Docket Nos. 69, 70, 77, 82 & 83
         ASSOCIATION; WILMINGTON SAVINGS
         FUND SOCIETY, FSB; YUSEN LOGISTICS
         (AMERICAS) INC.; and OOCL (USA), INC.,

                                      Defendants.


                                            REQUEST FOR ORAL ARGUMENT

                    Pursuant to Rule 7007-3 of the Local Rules of Bankruptcy Practice and Procedure of the

         United States Bankruptcy Court for the District of Delaware, TSA Stores, Inc. (“TSA”) hereby

         respectfully requests that the Court schedule oral argument on the Joint Motion for Summary

         Judgment by TSA Stores, Inc. and Yusen Logistics (Americas) Inc. [Adv. D.I. 69] (the “Motion”),

         and all related papers.




         1
                The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: TSAWD
                Holdings, Inc. (9008); Slap Shot Holdings Corp. (8209); TSAWD, Inc. (2802); TSA Stores, Inc. (1120); TSA
                Gift Card, Inc. (1918); TSA Ponce, Inc. (4817); and TSA Caribe, Inc. (5664). The headquarters for the above-
                captioned Debtors is located at 2305 East Arapahoe Road, Suite 234, Centennial, Colorado 80122.
                The Debtors were formerly known as: Sports Authority Holdings, Inc. (9008); Slap Shot Holdings Corp.
                (8209); The Sports Authority, Inc. (2802); TSA Stores, Inc. (1120); TSA Gift Card, Inc. (1918); TSA Ponce,
                Inc. (4817); and TSA Caribe, Inc. (5664).
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                TSA respectfully submits that oral argument is appropriate because the Motion presents

         substantial legal issues. In addition, oral argument will allow the parties to clarify any important

         legal, procedural, or factual points raised in the Motion and/or the related papers should the

         Court have any questions.



         Dated: April 18, 2017                  YOUNG CONAWAY STARGATT & TAYLOR, LLP
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